                        UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF TENNESSEE
                                  At Nashville


UNITED STATES OF AMERICA,                  |
                                           |       3:11-00012
                      PLAINTIFF            |       SENIOR JUDGE WISEMAN
                                           |
V.                                         |
                                           |
CHRIS YOUNG,                               |
                                           |
                      DEFENDANT            |




                  DEFENDANT CHRIS YOUNG’S MOTION TO
                       SEVER DEFENDANTS AND
            MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT


               Comes now, the Defendant, Chris Young, by and through his appointed

counsel, Hallie H. McFadden, pursuant to Rule 14 of the Federal Rules of Criminal

Procedure, and hereby respectfully moves this Honorable Court for an Order granting

severance from the other defendants in this matter for purposes of trial.

        Federal Rule of Criminal Procedure 8(b) provides:

        Two or more defendants may be charged in the same indictment or
        information if they are alleged to have participated in the same act or
        transaction or in the same series of acts or transaction constituting an
        offense or offenses. Such defendants may be charged in one or more
        counts together or separately and all of the defendants need not be
        charged in each count.

        Under Rule 8(b), joinder of multiple defendants is proper only if all of the offenses

charged in the indictment arose out of the same series of transactions. United States v.

Satterfield, 548 F.2d 1341, 1344 (9th Cir. 1977). In determining whether this standard is



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     Case 3:11-cr-00012 Document 775 Filed 05/04/12 Page 1 of 3 PageID #: 3332
met, there must be a logical connection shown between the offenses. United States v.

Sarkisian, 197 F.3d 966, 975 (9th Cir. 1999). In Sarkisian, the Ninth Circuit wrote that

mere factual similarity of events will not suffice. Rather there must be some greater

logical relationship between the occurrences. Id. At 976.

      Federal Rule of Criminal Procedure 14 provides:

      If it appears that a defendant or the government is prejudiced by a joinder
      of offenses or of defendants in an indictment or information or by such
      joinder for trial together, the court may order an election or separate trials
      of counts, grant a severance of defendants or provide whatever other
      relief justice requires. In ruling on a motion by a defendant for severance
      the court may order the attorney for the government to deliver to the court
      for inspection in camera any statements or confessions made by the
      defendants which the government intends to introduce in evidence at the
      trial.


      Under Rule 14, the defendant must show that joinder of offense or defendants is

so prejudicial that it outweighs the interests of judicial economy and efficiency. United

States v. Douglass, 780 F.2d 1472, 1478 (9th Cir. 1986). Mr. Young asserts that joinder

of the co-defendants in this case would be so prejudicial that it would prevent him from

receiving a fair trial. A single joint trial of several defendants may not be had at the

expense of one defendant’s right to a fundamentally fair trial. United States v. Echeles,

352 F.2d 892 (7th Cir. 1965).

                                      Conclusion

      In consideration of the foregoing, defendant respectfully requests this Honorable

Court enter an Order severing the defendants in this matter for purposes of trial.

      WHEREFORE Mr. Young respectfully prays:

             1.     That his Motion to Sever the Defendants be sustained;




  Case 3:11-cr-00012 Document 775 2 Filed 05/04/12 Page 2 of 3 PageID #: 3333
                2.       That a hearing is conducted in order to determine the issues

                         contained within this Motion; and

                3.       Any further and general relief to which Mr. Young may be entitled.

                                                           Respectfully submitted,

                                                           LAW OFFICES OF
                                                           HALLIE H. McFADDEN, P.C.

                                                           By:     s/Hallie H. McFadden
                                                                   Hallie H. McFadden,BPR #17185
                                                                   Attorneys for Defendant
                                                                   P.O. Box 546
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                                                                   TEL: (423) 362-1818



                                        CERTIFICATE OF SERVICE
         I, the undersigned, hereby certify that on May 4, 2012, a copy of the foregoing was filed
electronically. Notice of this filing will be sent by operation of the Court’s electronic filing system to all
parties indicated on the electronic filing receipt. All other parties will be served by regular U.S. Mail.
Parties may access this filing through the Court’s electronic filing system.


                                         /s/ Hallie H. McFadden




   Case 3:11-cr-00012 Document 775 3 Filed 05/04/12 Page 3 of 3 PageID #: 3334
